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   Attorneys for Plaintiff
11 RICHARD BOTELLO
12
13                       UNITED STATES DISTRICT COURT
14                     SOUTHERN DISTRICT OF CALIFORNIA
15
16 RICHARD BOTELLO,                            Case No.: 3:19-cv-1171-DMS-MSB
17        Plaintiff,                           JOINT MOTION TO DISMISS
                                               WITH PREJUDICE
18 v.
19 FIFTH THIRD BANK,                           District:            Hon. D. M. Sabraw
                                               Magistrate:          Hon. M. S. Berg
20        Defendant.                           Complaint filed:     June 21, 2019
                                               Trial date:          Not yet set
21
22
23        TO THE HONORABLE COURT:
24        Pursuant to Rule 41(a)(2) of the Federal Rules of Civil Procedure and Local
25 Rule 7.2, Plaintiff RICHARD BOTELLO and Defendant FIFTH THIRD BANK,
26 NATIONAL ASSOCIATION (collectively the “Parties”), having completed the
27 terms of the Settlement Agreement, jointly move this Court for entry of an Order
28 dismissing the above captioned action, with prejudice.

                                              1                        3:19-cv-1171-DMS-MSB
                           JOINT MOTION TO DISMISS WITH PREJUDICE
Case 3:19-cv-01171-DMS-MSB Document 14 Filed 12/09/19 PageID.60 Page 2 of 3




 1         WHEREFORE, the Parties, by and through their respective counsel,
 2 respectfully request that this Court grant this Joint Motion to Dismiss with Prejudice.
 3
 4 Dated: December 9, 2019                  Respectfully submitted,
 5                                          DINSMORE & SHOHL LLP
 6
 7                                          By: s/ Dillon D. Chen
 8                                              DILLON D. CHEN
 9                                          Attorneys for Defendant
                                            FIFTH THIRD BANK, NATIONAL
10                                          ASSOCIATION
11
12 Dated: December 9, 2019                  The Law Offices of Jeffrey Lohman, P.C.
13
14                                          By: s/ Rory Leisinger
                                                  RORY LEISINGER
15
                                            Attorneys for Plaintiff
16                                          RICHARD BOTELLO
17
18
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20
21                 ATTESTATION OF ELECTRONIC SIGNATURES

22         I, Dillon D. Chen, attest that all signatories listed, and on whose behalf this

23 filing is submitted, concur in the filing’s content and have authorized the filing of this
24 Joint Motion to Dismiss.
25 Dated: December 9, 2019                  By: s/ Dillon D. Chen
                                                   DILLON D. CHEN
26
27
28

                                                2                         3:19-cv-1171-DMS-MSB
                             JOINT MOTION TO DISMISS WITH PREJUDICE
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 1                            CERTIFICATE OF SERVICE
 2        I, the undersigned, do hereby certify that on December 9, 2019, a true copy of
 3 this document was served by electronic mail upon all registered CM/ECF users, and
 4 by United States Postal Service upon all non-registered CM/ECF users in this case as
 5 indicated below:
 6         Rory Leisinger, Esq.
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13
           Attorneys for Plaintiff RICHARD BOTELLO
14
15        I declare under penalty of perjury under the laws of the United States of
16 America that the above is true and correct.
17
18                                               s/ Dillon D. Chen
                                                    Dillon D. Chen
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                                               3                     3:19-cv-1171-DMS-MSB
                            JOINT MOTION TO DISMISS WITH PREJUDICE
